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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA
                                                             Criminal No. 23-cr-00123-SAG
                     v.

 CHARLES AUSTIN JENKINS

                       Defendants


                                              ORDER

       Upon consideration of the defendant Charles Jenkins’ Motion for Order regarding Speedy

Trial Status, it is this ____ day of ________, 2023, it is

       ORDERED, that the Motion for Order Regarding Speedy Trial Status shall be, and the

same hereby is, GRANTED; and it is further

       ORDERED, that pursuant to 18 U.S.C. Sections 3161(h)(1) and 3161(h)(7)(A) and (B),

in order to allow defense counsel to review discovery, prepare pretrial motions and prepare for

trial in the event that a pretrial resolution is not reached, the ends of justice served by continuing

the trial of this matter outweigh the best interests of the public and the defendants in a speedy

trial. Therefore, the time between April 14, 2023, and June 16, 2023, is excluded in computing

the time within which trial must commence.



                                               ________________________________
                                               STEPHANIE A. GALLAGHER
                                               United States District Judge
